Case 1:18-mc-23705-DPG Document 1-2 Entered on FLSD Docket 09/11/2018 Page 1 of 7



                                ATTACHMENT A
Case 1:18-mc-23705-DPG Document 1-2 Entered on FLSD Docket 09/11/2018 Page 2 of 7




                                         Excerpt from Act of.June 6, I 997
                                              POLISH PENAL CODE
                            (Journal of Laws of July 29, 2016 item 1137 as amended)


           Article I I

           Section 2. If an act satisfies the attributes specified in two or more provisions of the criminal
           law, the court sentences the perpetrator for one offence on the basis of all regulations
          applicable in concurrence.


          Article 12

          Two or more actions taken in short time intervals in the performance of an advance intention
          shall be regarded as one prohibited act; if the subject of the attempt is personal interest. the
          condition for regarding multiple acts as one prohibited act is that the victim is the same in all
          these acts.


          Article 64 Section 1

          If an offender sentenced for a willful offense to a penalty of imprisonment perpetrates within
          5 years after serving at least 6 months of penalty a willful offense sim ilar to the one for which
          he was already sentenced, the court may administer a penalty provided for the offense
          attributed to the offender within the limits of the highest statutory threat increased by half.


          Article 64 Section 2
          If a perpetrator, who has previously been sentenced under conditions as described in sec tion I
          above and who has served a total of at least one year's penalty of imprisonment and within 5
          years, after having served the most recent penalty, either as a whole or in part, once more
          commits an intentional crime against life or health, a crime of rape, robbery, theft and
          burglary or any other crime against property, committed with the usage of violence or threat
          to use it, then the court shall impose the penalty of impri sonment provided for the crime
          above the bottom limit of the statutory penalty. and it can impose the penalty within the top
          limit of the statutory penalty increased by half.




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Case 1:18-mc-23705-DPG Document 1-2 Entered on FLSD Docket 09/11/2018 Page 3 of 7




           Article 65 Section l

           Regulations concerning the administration of penalty, penal means and means connected with
           subjection to probation of a culprit specified in article 64 paragraph 2. apply also to a
           perpetrator who made a permanent source of income out or perpetration of offenses. or
           commits a crime acting in an organized criminal group or union. whose objective is
           perpetration of crimes, and wi th respect to a perpetrator or an offense or terrorist nature.


           Article 270 Section I

           A person who forges or modifies a document with an intention to use it as the authentic one or
           uses such a document as the authentic one, is liable to a fine, a penalty of limitation of
           freedom or that of imprisonment for a period of from 3 months up to 5 years.


           Article 278 Section l
           A person who takes another·s movable for the purposc of mi sappropriation thereor is subject
           to a penalt y or imprisonment from 3 months up to 5 years.


           Article 278 Section 2

           The same penalty applies to a person who without the consent of the authorized person
           acquires another's computer program for the purpose of obtaining a financial benefit.


           Article 284 Section 1

           Any person who misappropriates another's movable or property right
           - is liable to a penalty of imprisonment for a period or up to :i years.

           Article 28.t Section 2

           Any person who misappropriates a movable that has been entrusted to him/her
           - is liable to a penalty of imprisonment for a period from 3 months up to 5 years.



           Article 285 Section 1

           A person who connects to a telecommunications device and runs up telephone ch.~rge? ~; h!:s.:
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           another' s account, is subject to a penalty of imprisonment for up to 3 years.          / ,.                ··    ~'>,\.1
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Case 1:18-mc-23705-DPG Document 1-2 Entered on FLSD Docket 09/11/2018 Page 4 of 7




          Article 286 Section 1

          Any person who, in order to obtain a prope11y benefit, causes another person to
          disadvantageously alienate his/her prope11y or someone else's property by misleading the
          person or taking advantage of his/her mistake or inability to understand properly the activit y
          undertaken, is liable to a penalty of imprisonment for a period from 6 months up to 8 years.


          Article 287 Section I
          /\ny person who. in order to gain financial benefit or inflict damage on another. without
          authorization intluences automatic rrocessing. storing or transmission or information. or
          alters on. deletes from. or introduces new content lo an IT data carrier. is subject to a penalty
          of imprisonment for a period from 3 months up to 5 years.


          Article 288 Section 1

          Any person who destroys, damages, or renders useless the property of another. is subject to a
          penalty of imprisonment for a period from 3 months up to 5 years.



          Article 288 Sectio n l

          The penalt y specified in   *l applies al so to a person. who severs or damages and undersea
          cable. or infringes regulations applicable upon installation or repair or such a cable.



          Article 294 Section 1

          Any person who commits the crime referred to in article 278 paragraph I or 2. article 284
          paragraph I or 2, a11icle 285 paragraph 1, article 286 paragraph I, article 287 paragraph I,
          article 288 paragraph I or 3, or in article 291 paragraph I against property of substantial
          value, is liable to a penalty of imprisonment for a period from one year up to IO years.


          Artic le 310 Section 1

          /\ person who forges or doctors Polish or foreign money. other legal tcntkr or document
          authorizing receipt of a sum of money or containing an obligation to pay out capitaJ.)111§1:~_ .~§:>-
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          share in profits, or a declaration of participation in a company, or removes from 1119~~5,~' other               \ ·\
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Case 1:18-mc-23705-DPG Document 1-2 Entered on FLSD Docket 09/11/2018 Page 5 of 7
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          legal tender or such document a mark of remission. is subject to a penalty of imprisonment for          I
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          a period not shorter than 5 years or a penalty of imprisonment for 25 years.                              I
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          Article 310 Section 2                                                                                      I
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          A person who puts in circulation money, other legal tender or docu1m:n1 specitied in                        I
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          paragraph l, or accepts it for such purpose, stores, transports, carries, sends or assists in its           I
          alienation or concealment, is subject to a penalty of imprisonme'nt for a period from one year              I
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          to JO years.                                                                                                  I
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          Article 101 Section I                                                                                         I
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          An offence may not be prosecuted upon the expiration of the following periods from the time                     I
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          of its perpetration:                                                                                            I
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              1. 30 years - if the act is a felony of homicide;
                                                                                                                          II
              2. 20 years - if the act is another felon y:
                                                                                                                            I
              2a. 15 years - if the act is an oftense amenable to a penalty or imprisonment exceeding 5                     I
                                                                                                                            I
              years,                                                                                                        I
              3. 10 years - if the act is an offense amenable to a penalty of imprisonment exceeding 3                        I

                  years;
                                                                                                                              I
              4. 5 years - in case of other offenses


          Article 102
          If proceedings are initiated against a person within the period provided for by art icle IO 1, then
          the offence_ specified in article 10 I paragraph I committed by the person ceases to be
          punishable with the lapse   or IO years. and   in other cases -- with the lapse or 5 years from the
          end of such a period.


          Article 233 Section 1

          Any person who, while giving testimony which is going to serve as evidence in court
          proceedings or other proceedings being conducted on the basis of a law, gi ves false evidence
          or withholds the truth is liable to imprisonment for a period of up to 3 years.
Case 1:18-mc-23705-DPG Document 1-2 Entered on FLSD Docket 09/11/2018 Page 6 of 7




          Article 233 Paragraph la
          If the perpetrator of a deed specified in Paragraph I gives false evidence or withholds the
          truth because of fear of his/her own criminal responsibility or of criminal responsibility of the
          members of their family , he/she shall be liable to imprisonment for a period of 3 months up to
          5 years.


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                                        FOR CONFORMITY
                                        Krosno, date 19.09.2017


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                                                                          Clerk
                                                                  (-) illegible signature
                                                                   Regina Pankowska


          Round seal wilh !he s/a/e emhlem    ol 1he   Republic   ol Poland   in 1he cen/er and !he .fill/owing
          in.1crip1io11 on !he rim. ·'CIRCUIT PROSECUTOR'S OFFICE IN KROSNO *I* "'.


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Case 1:18-mc-23705-DPG Document 1-2 Entered on FLSD Docket 09/11/2018 Page 7 of 7




                                            Excerpt from Act of .lune 6, 1997
                                     POLISH CODE OF PENAL PROCEDURE
                              (Journal of Laws of July 29, 2016 item 1749 as amended)


           Article 143

           Section 1. The following actions require records to be taken on:
              2 interview of a defendant, witness, expert and probation officer;


                                           Oblong stamp:
                                           FOR CONFORMITY
                                           Krosno. date 19.09.20 17


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                                                                            Clerk
                                                                    (-) illegible signature
                                                                     Regina Pankowska


           Round seal with the srare emblem of the Republic of Poland in the center and the following
           inscription on the rim: "CIRCUIT PROSECUTOR'S OFFICE IN KROSNO * l *'°.




                         Repertory No. 2178/2017
                         1, the undersigned, Ryszard Pruszkowski, sworn translator of the
                         English language entered on the list of sworn translators of the
                         Minister of Justice, hereby certify rhat the above texr is a true
                         and comp/ere translarion of the original Polish dorn111e111.
                         Warsaw. Novemher 2, 201 7




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